Case 8:24-cv-02512-WFJ-AEP       Document 13     Filed 12/23/24   Page 1 of 2 PageID 53




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

                       CASE NO. 8:24-CV-02512-WFJ-AEP

 ENRIQUE ALVEAR,

       Plaintiff,

 vs.

 SUNNI SPENCER INC., a Florida
 for-profit corporation,

      Defendant.
 _________________________________/

 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff ENRIQUE ALVEAR, pursuant to Rule 41(a)(1)(A)(i) of the Federal

 Rules of Civil Procedure, hereby voluntarily dismisses all his claims in this action

 with prejudice, with each party to bear his/its own attorney’s fees and costs.

       Respectfully submitted,

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 By:   s/ Roderick V. Hannah                   By:   s/ Pelayo M. Duran
       RODERICK V. HANNAH                            PELAYO M. DURAN
       Fla. Bar No. 435384                           Fla. Bar No. 0146595
Case 8:24-cv-02512-WFJ-AEP       Document 13       Filed 12/23/24   Page 2 of 2 PageID 54




                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 23rd day of December, 2024, I

 electronically filed the foregoing with the Clerk of Court using the CM/ECF system

 which will send notification of such filing to:


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 Attorneys for Defendant
 SUNNI SPENCER INC.

                                                    /s/ Roderick V. Hannah
                                                        Roderick V. Hannah
